
Wright, J.,
delivered tbe opinion of tbe Court.
The bill in this case, is filed to recover from tbe defendants, compensation for certain improvements, which the complainant alleges be made upon their lands under a lease which was void, because not in writing. ■ Tbe Chancellor dismissed bis bill, and be has appealed to this Court. The lands were used for mining purposes, in getting coal from certain ore beds.
Tbe defendant, Cravens, owned one-sixteenth of tbe lands, as a tenant in common, with tbe other defendants, who owned tbe residue. And it is very clear, from this record, that whatever contract complainant had, was ■ with Cravens, and did not bind bis co-tenants. It is denied in the answers that there was any lease. And Cravens, tbe only defendant who knows anything on tbe subject, says tbe contract was, at first, only to *110make a certain road, for AYhich complainant, at once, was paid in coal then dug by defendant, and received by complainant; and that complainant was allowed, after-wards, only to dig out of a certain pit, Avhich defendant had opened, under which he, without authority, and in defiance of defendant’s wishes, went on and done the Avork at another place, for which he now asks compensation.
It is not very clear what the contract was, and the facts, as to this matter, we incline to think are with the defendants.
But be all these things as they may, the weight of the proof is, that the improvements made by complainant, have not enhanced the value of the land; while on the other hand, he committed great waste in cutting timber, &amp;c. Upon the entire record, complainant is entitled to no relief, and Ave affirm the Chancellor’s decree.
